Case 2:05-cV-02143-BBD-tmp Document 38 Filed 08/15/05 Page 1 of 3 Page|D 41
IN THE UNITED STATES DISTRICT COURT FOR THE /

WESTERN DISTRICT OF TENNESSEE ry
WESTERN DIVISION FHED BY `_;`é.__.. ..DG

HosT lNTERNATIONAL INC., 05 AUG lS AH 91 5b

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Case No. 2.05cv2143 b)_/EI,:\K % § EHQ?$FL}?‘E,{ GWHT
_W/D Ut' li\l lleMPHlS

Plaintiff,
v.

ADD: FITCH, INC. , MECHANICAL
.PLUMBING I)ESIGNS, CEN'I`URY
C()NSTRUCTION, INC., AND
DAMON-MARKUS,

\-/\-H\_¢'\-J`/\_J\-/\_¢\_¢*_/W

Defendaots.

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on August 15, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Mechanical Plumbing Designs pursuant to
FRCP 55(a).

On May 3, 2005, this Court filed the Summons returned executed April 22, 2005.
Defendant had twenty days within which to answer or otherwise plead. Defendant Mechanical
Plumbing Designs has failed to plead or otherwise defend as provided by the F ederal Rules of Civil
Procedure.

ln compliance with Rule 5 S(a), FRCP., plaintiffs motion for entry of default against the
above-named defendant is GRANTED. In accordance to Ru]e 55(c) for good cause shown, the court
may set aside an entry of default.

Entered this 15th day of August, 2005.

THOMAS M. GOULD
Clerk of Court /

By flaw daly/war

) Deputy Cllerk

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CV-02143 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Christopher S. Dunn

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Kathy Bailey

BAILEY LAW GROUP P.C.
1752 N. Street7 N.W. Suite 800
Washington, DC 20036

John D. Willet

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Lawrence W. White

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

Robert A. Talley

SHUTTLEWORTH WILLIAMS HARPER WARING & DERRICK
200 Jefferson Ave.

Ste. 1500

1\/1emphis7 TN 38103--630

Michael G. Derrick

SHUTTLEWORTH WILLIAMS HARPER WARING & DERRICK
200 Jefferson Ave.

Ste. 1500

1\/1emphis7 TN 38103--630

Case 2:05-cV-02143-BBD-tmp Document 38 Filed 08/15/05 Page 3 of 3 Page|D 43

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Aaron R. Parker

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

Daniel E. lzenson

KEATING MUETH[NG & KLEKAMP, P.L.L.
One East Fourth St.

1400 Provident Tower

Cincinnati, OH 45202

Stephen C. Barton

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main Street

1\/lemphis7 TN 38103

Pamela Morgan Hodge

KEATING MUETH[NG & KLEKAMP, P.L.L.
One East Fourth St.

1400 Provident Tower

Cincinnati, OH 45202

Honorable Bernice Donald
US DISTRICT COURT

